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                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Michael W. Dynda                                                  CHAPTER 13
                                Debtor(s)

Federal Home Loan Mortgage Corporation, as
Trustee for the benefit of the Freddie Mac Seasoned
Loans Structured Transaction Trust, Series 2019-1                     NO. 23-10507 PMM
                                  Movant
                 vs.

Michael W. Dynda
                                Debtor(s)                             11 U.S.C. Section 362

Kenneth E. West
                                Trustee

                                               ORDER


                      10th
        AND NOW, this ____________        June
                                   day of __________, 2024 at Philadelphia, upon

consideration of this Stipulation it is hereby ORDERED that:

        The Court grants approval of the Stipulation executed by all parties. However, the court

retains discretion regarding entry of any further order.



                                                           _____________________________
                                                           Hon. Patricia M. Mayer
                                                           United States Bankruptcy Judge
